298 F.2d 522
    ASSOCIATION FOR THE PRESERVATION OF FREEDOM OF CHOICE, INC., and Charles P. Mong, Plaintiffs-Appellants,v.Robert F. WAGNER, Daniel S. Weiss, Louis Okin, Earl Brown, and Stanley M. Isaacs, Defendants-Appellees.
    No. 222.
    Docket 27136.
    United States Court of Appeals Second Circuit.
    Argued January 19, 1962.
    Decided February 6, 1962.
    
      Alfred Avins, New York City, for plaintiffs-appellants.
      Alfred Weinstein, New York City (Seymour B. Quel and Leo A. Larkin, Corp. Counsel, New York City, on the brief), for defendants-appellees.
      Before MEDINA, MOORE and SMITH, Circuit Judges.
      PER CURIAM.
    
    
      1
      The action is against the Mayor of the City of New York and members of the Council of the City of New York with reference to the appointment by the Council of Edward R. Dudley as President of the Borough of Manhattan, in the City of New York. Since the commencement of the action Edward R. Dudley has been duly nominated for and elected to the office of President of the said Borough of Manhattan, and the motion to dismiss the appeal as moot is granted. Moreover, the allegations of the complaint are wholly insufficient to support any prayer for general injunctive relief in futuro against public officials.
    
    
      2
      Appeal dismissed as moot.
    
    